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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

DIANTHE MARTINEZ-BROOKS,                            :
REJEANNE COLLIER, JACKIE                            :
MADORE and KENNETH CASSIDY,                         :
Individually, and on behalf of all others           :
similarly situated,                                 :
                                                    :
Petitioners,                                        :
                                                    :
v.                                                  :       No. 3:20-cv-569 (MPS)
                                                    :
D. EASTER, Warden of Federal                        :
Correctional Institute at Danbury, and              :
MICHAEL CARVAJAL, Director of the                   :
Federal Bureau of Prisons, in their official        :
Capacities                                          :       May 11, 2020
                                                    :
Respondents.                                        :


        PETITIONERS’ SECOND SUPPLEMENTAL MEMORANDUM IN SUPPORT
               OF MOTION FOR TEMPORARY RESTRAINING ORDER

          Petitioners submit this second supplemental memorandum following the May 6, 2020

hearing to update the Court about conditions at the men’s facility at FCI Danbury and to request

further emergency relief.

I.        Conditions in D Unit at FCI Danbury

          The D Unit at FCI Danbury currently houses approximately 60 men. The men sleep in

rows of bunk beds, with the beds approximately four feet apart from each other. See Declaration

of Kenneth Cassidy (“Cassidy Dec.”) ¶ 31;1 Second Declaration of Kenneth Cassidy, submitted

herewith as Exhibit A (“Cassidy Dec. 2”) ¶¶ 2-4.




1
    Kenneth Cassidy’s first declaration is attached to the Petition (ECF 1) as Exhibit D.
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       On May 7, 2020, two men who had been sick for some time were removed from D Unit.

A filing submitted on May 8, 2020 by the U.S. Attorney’s Office for the Western District of New

York in Kenneth Cassidy’s pending compassionate release case stated:

       [T]he government contacted the defendant’s case manager at Danbury FCI. On
       May 8, 2020, the defendant’s case manager stated that on May 7, 2020, two
       inmates were removed from the defendant’s housing unit and placed into
       quarantine. One inmate, who tested negative for COVID-19, was the inmate who
       was two bunks away from the defendant, and had reported feeling sick for the
       past two months. The other inmate, who tested positive for COVID-19, was
       across the walkway from the defendant and numerous feet away. Again, both
       individuals were placed into quarantine on May 7, 2020.

See Exhibit B, submitted herewith.

       As set forth in the attached declarations, following the removal of the two men from D

Unit on May 7, 2020, staff have not—as of May 10—removed the bedding from the beds where

the two men had been sleeping and have not otherwise cleaned their living areas. Cassidy Dec. 2

¶ 6; Declaration of Edward Clinton Jones, submitted herewith as Exhibit C (“Jones Dec.”) ¶ 5;

Declaration of Ivan Joseph Soto, submitted herewith as Exhibit D (“Soto Dec”) ¶ 6; Declaration

of Mark Youngs, submitted herewith as Exhibit E (“Youngs Dec.”) ¶ 6. Staff have also not

provided the prisoners with cleaning supplies and protective equipment to clean these areas

themselves. Youngs Dec. ¶ 6; Cassidy Dec. 2 ¶ 6.

       There are men in D Unit currently exhibiting symptoms of COVID-19 including coughs,

headaches, shortness of breath, chills, body aches, and chest pains. Declaration of Roger Perkins,

submitted hereto as Exhibit F (“Perkins Dec.”) ¶ 5; Jones Dec. ¶ 6; Cassidy Dec. ¶ 13; Youngs

Dec. ¶ 7. Men are being told that if they do not have a fever they should stop complaining and go

lie down. Youngs Dec. ¶ 7; Jones Dec. ¶ 7. The men who have submitted declarations are not

aware of anyone in the unit who has been tested for the virus since May 7. Jones Dec. ¶ 8;




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Cassidy Dec. ¶ 11; Soto Dec. ¶ 7; Perkins Dec. ¶ 6. Medical staff were not in the unit on May 9

or May 10 to evaluate the symptoms of the men. Cassidy Dec. ¶ 14.

       The man who tested positive for COVID-19 on May 7 had been sick for around two

weeks and had sought medical help. Cassidy Dec. ¶ 5. He was repeatedly told that he did not

have a fever and should go lie down. Id. He asked his counselor for help again on May 7 and was

initially told to go lie down. Id. ¶ 4; Soto Dec. ¶ 5. He was brought to medical only after he

banged on the door and began screaming. Cassidy Dec. ¶ 4; Soto Dec. ¶ 5.

       The second man had been sick for multiple weeks and had blood in his stool. Cassidy

Dec. ¶ 8; Perkins Dec. ¶ 4. He repeatedly asked for medical care. Cassidy Dec. ¶ 8. He tested

negative for COVID-19 on May 4, 2020 and was returned to the unit. Soto Dec. ¶ 4. There is a

question as to whether the test was conducted properly. Id. The man was removed from the unit

on May 7. Cassidy Dec. ¶ 8; Jones Dec. ¶ 4. It is unclear whether he later tested positive.

Prisoners saw him being escorted to Unit A, where positive men are housed. Cassidy Dec. ¶ 9;

Perkins Dec. ¶ 4.

II.    Request for Additional Emergency Relief

       In light of the current conditions in D Unit at FCI Danbury, Petitioners request the

following additional temporary relief, in addition to the relief previously requested by

Petitioners. In particular, Petitioners request that the Court issue an order requiring that all

prisoners in the D Unit be tested for COVID-19 and be appropriately isolated and quarantined to

protect their health. Given the high false negative rate of the machine that FCI Danbury is using




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for testing, negative tests should be followed up with PCR testing.2 In addition, Petitioners

request that the Court require a thorough cleaning of D Unit.



Dated May 11, 2020                            Respectfully Submitted,


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2
 Warden Easter’s Declaration noted that testing was being conducted at FCI Danbury with the Abbott
“ID NOW” machine, which can deliver results in approximately 15 minutes. See ECF 24, Ex. A, Easter
Dec. ¶ 87. A recent study showed a false negative rate of approximately 15% with this machine.
https://www.npr.org/sections/health-shots/2020/04/21/838794281/study-raises-questions-about-false-
negatives-from-quick-covid-19-test
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                           Counsel for the Petitioners Dianthe Martinez-
                           Brooks, Rejeanne Collier, Jackie Madore, and
                           Kenneth Cassidy

                           *Application for Admission Pending




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